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 1                       UNITED STATES DISTRICT COURT

 2                      EASTERN DISTRICT OF CALIFORNIA

 3                                    --o0o--

 4    G.P.P., INC.,                       )     Case No. 1:15-cv-00321-SKO
                                          )
 5                     Plaintiff,         )     Fresno, California
                                          )     Wednesday, June 21, 2017
 6         vs.                            )     8:21 A.M.
                                          )
 7   GUARDIAN PROTECTION PRODUCTS,        )     Jury Trial - Day 2.
     INC., et al.,                        )
                                          )
                       Defendants.        )
 8                                        )

10                        TRANSCRIPT OF PROCEEDINGS
                    BEFORE THE HONORABLE SHEILA K. OBERTO
11               UNITED STATES MAGISTRATE JUDGE, and a jury.

12   APPEARANCES:
     For Plaintiff:                       JOHN P. FLYNN
13                                        COLLEEN BAL
                                          Wilson Sonsini Goodrich & Rosati
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15                                        San Francisco, CA   94105
                                          (415) 947-2130
16
                                          CRAIG BOLTON, PHV
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20
                                          DYLAN J. LIDDIARD
21                                        Wilson Sonsini Goodrich & Rosati
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23
     For Defendants:                      AARON P. RUDIN
24                                        CALVIN E. DAVIS
                                          Gordon & Rees, LLP
25                                        633 West Fifth Street, 52nd FIr.
                                          Los Angeles, CA    90071
                                          (213)576-5000




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 1               THE COURT:   Thank you very much.        And who do you wish

 2    to call as your next witness?

 3               MR. LIDDIARD:     For the next witness, we will be

 4    calling Darin Lease by videotaped deposition.

 5               THE COURT:   Thank you very much.

 6         (Video deposition of Darin Lease played from 3:10 p.m.

 7    until 3:27 p.m.)

 8               MR. LIDDIARD:    That concludes the videotaped

 9    testimony of Darin Lease.

10               THE COURT:   Thank you very much.

11               MR. LIDDIARD:    As our next witness, we would call

12    Ronnie Holman by videotaped deposition.

13               THE COURT:   Thank you.        Please proceed.

14         (Video deposition of Ronnie Holman played from 3:28 p.m.

15    until 4:14 p.m.)

16               MR. LIDDIARD:    That concludes the videotaped

17    testimony of Ronnie Holman.

18               THE COURT:   Thank you very much.        Are you prepared to

19    call your next witness for direct examination?

20               MR. LIDDIARD:    We are.

21               THE COURT:   Thank you very much.        Please call your

22    next witness.

23               MR. LIDDIARD:     The plaintiff would like to call Frank

24    Gibson.

25               THE COURT:   Thank you.        Mr. Gibson, if you can please




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 1               MR. LIDDIARD:      Thank you.

 2               MS. BAL:     You too.

 3         (Whereupon the trial in the above-entitled matter was

 4    adjourned for the day at 4:59 p.m.)

 5                                      --000--

 6                                    CERTIFICATE

 7         I certify that the foregoing is a correct transcript from

 8    the electronic sound recording of the proceedings in the above-

 9    entitled matter.

10

11    /s/ Mary C. Clark                             Date:   June 24, 2017

12    Mary C. Clark, Transcriber

13    AAERT CERT*D-00214

14

15
16    /s/ Jennifer Barris                           Date:   June 24, 2017

17    Jennifer Barris, Transcriber

18    AAERT CET*668

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